                                                                              Case 15-12959          Doc 30       Filed 09/04/15 Entered 09/04/15 19:44:28                  Desc Main
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                                                                                                                  United States Bankruptcy Court
                                                                                                                      District of Massachusetts

                                                                   IN RE:                                                                                   Case No. 15-bk-12959
                                                                   Cousin, Terry T                                                                          Chapter 13
                                                                                                           Debtor(s)

                                                                                 AMENDED CHAPTER 13 AGREEMENT BETWEEN DEBTOR AND COUNSEL
                                                                             RIGHTS AND RESPONSIBILITIES OF CHAPTER 13 DEBTORS AND THEIR ATTORNEYS
                                                                   It is important for debtors who file bankruptcy cases under Chapter 13 to understand their rights and responsibilities. It is also
                                                                   useful for debtors to know what their attorney’s responsibilities are, and understand the importance of communicating with
                                                                   their attorney to make the case successful. Debtors should also know that they may expect certain services to be performed
                                                                   by their attorney. To encourage that debtors and their attorneys understand their rights and responsibilities in the bankruptcy
                                                                   process, the following terms are agreed to by the debtors and their attorneys.

                                                                   BEFORE THE CASE IS FILED:

                                                                      The DEBTOR agrees to:

                                                                   1. Provide the attorney with accurate financial information; and
                                                                   2. Discuss with the attorney the debtor’s objectives in filing the case.
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                                                                      The ATTORNEY agrees to:

                                                                   1. Meet with the debtor to review the debtor’s debts, assets, income and expenses;
                                                                   2. Counsel the debtor regarding the advisability of filing either a Chapter 7 or Chapter 13 case, discuss both procedures with
                                                                      the debtor, and answer the debtor’s questions;
                                                                   3. Explain what payments will be made through the plan, and what payments will be made directly by the debtor for
                                                                      mortgage and vehicle loan payments, as well as which claims accrue interest;
                                                                   4. Explain to the debtor how, when, and where to make the Chapter 13 plan payments, as well as the debtor’s obligation to
                                                                      continue making mortgage payments, without interruption, and the likely consequences for failure to do so;
                                                                   5. Explain to the debtor how the attorney’s fees and trustee’s fees are paid, and provide an executed copy of this document
                                                                      to the debtor;
                                                                   6. Explain to the debtor that the first plan payment must be made to the Trustee within 30 days of the date the plan is filed;
                                                                   7. Advise the debtor of the requirement to attend the 341 Meeting of Creditors, and instruct debtor as to the date, time and
                                                                      place of the meeting;
                                                                   8. Advise the debtor of the necessity of maintaining appropriate insurance on all real estate, motor vehicles and business
                                                                      assets; and
                                                                   9. Timely prepare and file the debtor’s petition, plan and schedules.

                                                                   AFTER THE CASE IS FILED:

                                                                      The DEBTOR agrees to:

                                                                   1. Keep the Trustee and attorney informed for the debtor’s address and telephone number;
                                                                   2. Inform the attorney of any wage garnishments or attachments of assets which occur or continue after the filing of the case;
                                                                   3. Contact the attorney if the debtor loses his/her job or has other financial problems (the attorney may be able to have the
                                                                      Chapter 13 plan payments reduced or suspended in those circumstances), or alternatively obtains a material increase in
                                                                      income or assets;
                                                                   4. Advise counsel if the debtor is sued during the case;
                                                                   5. Inform the attorney if tax refunds to which the debtor is entitled are seized or not received;
                                                                   6. Advise counsel and the Trustee before buying or selling property or before entering into any long-term loan agreements,
                                                                      to determine what approvals are required;
                                                                   7. Provide the Trustee and the attorney, prior to the Section 341 meeting of creditors, with documentary evidence as to
                                                                      debtor’s income from all sources and the value of any asset in which the debtor has an interest, together with a copy of
                                                                      any declaration of homestead covering the debtor’s real estate, proof of insurance on any real property or automobiles in
                                                                              Case 15-12959          Doc 30      Filed 09/04/15 Entered 09/04/15 19:44:28                   Desc Main
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                                                                      which the debtor has an interest, and any other documents which the Trustee might reasonably request in order to assess
                                                                      whether the debtor’s proposed plan should be confirmed.

                                                                      The ATTORNEY agrees to provide the following legal services in consideration of the compensation further described
                                                                      below:

                                                                   1. Appear at the 341 Meeting of Creditors with the debtor;
                                                                   2. Respond to objections to plan confirmation, and where necessary, prepare an amended plan;
                                                                   3. Prepare, file and serve one necessary modification to the plan which may include suspending, lowering, or increasing plan
                                                                      payments;
                                                                   4. Prepare, file and serve necessary amended schedules in accordance with information provided by the debtor;
                                                                   5. Prepare, file and serve necessary motions to buy, sell or refinance real property;
                                                                   6. Object to improper or invalid claims, if necessary, based upon documentation provided by the debtor;
                                                                   7. Represent the debtor in motions for relief from stay;
                                                                   8. Where appropriate, prepare, file and serve necessary motions to avoid liens on real or personal property; and
                                                                   9. Provide such other legal services as necessary for the administration of the case.

                                                                   The initial fees charged in this case are $             4,000.00 . Any and all additional terms of compensation and additional
                                                                   services agreed to be rendered, if any, are set forth in writing and annexed hereto. If the initial fees are not sufficient to
                                                                   compensate the attorney for the legal services rendered in this case, the attorney further agrees to apply to the court for
                                                                   additional fees. If the debtor disputes the legal services provided or the fees charged by the attorney, an objection may be filed
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                                                                   with the court and the matter set for hearing.




                                                                   Debtor signature: /s/ Terry T Cousin                                                                  Dated:       9/04/2015




                                                                   Co-debtor signature:                                                                                  Dated:




                                                                   Attorney for the debtor(s) signature: /s/ Thomas Benner                                               Dated:       9/04/2015
